
ON REHEARING
Court composed of ULYSSES GENE THIBODEAUX, Chief Judge, MARC T. AMY, MICHAEL G. SULLIVAN, ELIZABETH A. PICKETT, and BILLY H. EZELL, Judges.
MICHAEL G. SULLIVAN, Judge.
For the reasons expressed in Bonnette v. Tunica-Biloxi Indians d/b/a Paragon Casino Resort, 02-919 (La.App. 3 Cir. 5/28/03), 873 So.2d 1, 2003 WL 21229282, on rehearing, the judgment of the trial court is affirmed. Costs of this appeal are assessed to Plaintiffs/Appellants.
AFFIRMED.
